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Pie TARAE of the Circuit

STATE OF WISCONSIN cikCurr court Court, Behe sna of Wisconsin,

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Ua Ab 2 P31 and correct copy of the Original on file and of
PENNSYLVANIA HIGHER record in my office.
EDUCATION ASSISTANCE AGENCY, LSKY 9
1200 North Seventh Street ERS CLE RK Dated: y-/ te / é?
Harrisburg, PA 17102-1444 TARAESA LAWHEARY, CLERK mae COURT

Plaintiff By i
v. Case No. 01-CV- oe
Case Code 30301

HELEN L. CEASER
2106 Blake Avenue
Racine, WI 53404

Defendant.

STIPULATION, ORDER FOR JUDGMENT AND
JUDGMENT

NOW IT IS HEREBY STIPULATED between Pennsylvania Higher Education
Assistance Agency by its counsel, Kevin M. Long and Quarles & Brady LLP and defendant
Helen Ceasar that the Defendant Helen Ceasar is indebted to the plaintiff PHEAA in the amounts
alleged in the complaint, that plaintiff PHEAA is entitled to take judgment against Defendant
Helen Ceaser and accordingly that PHEAA shall take judgment against Ms. Ceasar in the
amount of $123,495.03, plus $2,373.60 in interest (120 days x $19.78/day), plus $239.00 in costs
and $836.00 in attorneys’ fees, for a total judgment of $126,943.63.

IT IS STIPULATED AND AGREED this x day of April, 2002.

Me aay

Helen Ceasar

QBMKE\5217140,1
Case 2:04-mc-00054-LA Filed 08/02/04 Page 1of3 Document 1
IT IS STIPULATED AND AGREED this 4 © day of April, 2002.

Pennsylvania Higher Education Assistance Agency

Lu

Jeffrey avis, Esq.

State yOas 1011425
Kevin M. Long, Esq.

State Bar No. 1018128
QUARLES & BRADY Lip
411 East Wisconsin Avenue
Milwaukee, WI 53202-4497
Attorneys for Plaintiff

ORDER FOR JUDGMENT AND JUDGMENT

Upon the foregoing, it is ordered that plaintiff, Pennsylvania Higher Education
Assistance Agency is entitled to judgment against defendant Helen Ceasar in the amount of

$126,943.63 and that judgment shall be entered in that amount.

IT IS NOW HEREBY ADJUDGED AND DECREED that Pennsylvania Higher

Education Assistance Agency takes judgment against Helen Ceasar in the amount of

$126,943.63.
Dated this a flay of April 2002.
FILE & DOCKETED
DATE 0 Beek
CLERK OF COURTS
FACING, COUNTY Honorable Dennis J. B
Circuit Court Judge
deputy
QBMKE\5217140.1 2

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ASSIGNMENT OF JUDGMENT

|, Patricia Walton, representing the Pennsylvania Higher
Education Assistance Agency (assignor}, 1200 North
seventh Street, City of Harrisburg, Commonwealth of
Pennsylvania, in consideration of the sum of $126,943.63,
receipt of which is acknowledged, paid to the Pennsylvania
Higher Education Assistance Agency by the United States of
America (assignee) hereby assign to assignee the Judgment
recovered by assignor on April 8, 2002, docketed in the
Circuit Court of Racine County, Wisconsin, Case No. 01-C\V-
2011, against Helen L. Ceaser for $117,948.86 in principal,
$7,851.64 in interest, plus fees, costs, and attorney's fees in
the amount of $1,143.13.

Assignor authorizes the United States of America to ask,
demand, and receive, and to sue out executions and take all
lawful ways for the recovery of the money due or to become
due to this Judgment.

Assignor has not done and will not do anything to hinder or
prevent the United States of America from enforcing the

Judgment.

| have executed this assignment at PHEAA, 1200 North
seventh Street, Harrisburg, Pennsylvania 17102 this 10th
day of May, 2002.

Prtrcerm Lon Stien

Patricia Walton

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